Case 3:21-md-02981-JD Document 958-6 Filed 05/02/24 Page 1 of 5




                EXHIBIT E
                                Case 3:21-md-02981-JD Document 958-6 Filed 05/02/24 Page 2 of 5
https //secunty googleblog com/2024/02/p1lotlng-new-ways-to-protect-Andro1d-users-from%20financ,al-fraud html                                                        April 29, 2024




                                   Google Security Blog
                                   The latest news and insights from Google on security and safety on the Internet




                                   Piloting new ways of protecting Android users from financial
                                                                                                                                   Q. Search blog ..
                                   fraud
                                   February 6, 2024
                                                                                                                               •       Labels


                                   Posted by Eugene Uderman, Director of Mobile Security Strategy, Google                      •       Archive


                                   From its founding, Android has been guided by principles of openness, transparency,         ~       Feed
                                   safety, and choice. Android gives you the freedom to choose which device best fits your
                                   needs, while also providing the flexibility to download apps from a variety of sources,
                                                                                                                                          W Follow@goog le
                                   including preloaded app stores such as the Google Play Store or the Galaxy Store; third-
                                   party app stores; and direct downloads from the Internet.
                                                                                                                                              DIii
                                   Keeping users safe in an open ecosystem takes sophisticated defenses. T hat's why               Give us feedback in our Product
                                                                                                                                                Forums.
                                   Android provides multiple layers of protections, powered by Al and backed by a large
                                   dedicated security & privacy team, to help t o protect our users from security threats
                                   while continually making the platform more resilient. We also provide our users with
                                   numerous built-in prot ections like Google Play Protect, the world's most widely
                                   deployed threat detection service, which actively scans over 125 billion apps on devices
                                   every day to monitor for harmful behavior. That said, our data shows that a
                                   disproportionate amount of bad actors take advantage of select APls and distribution
                                   channels in this open ecosystem.

                                   Elevating app security in an open ecosystem

                                   While users have the flexibility to download apps from many sources, the safety of an
                                   app can vary depending on the download source. Google Play, for example, carries out
                                   rigorous operational reviews to ensure app safety, including proper high-risk API use
                                   and permissions handling. Other app stores may also follow established policies and
                                   procedures that help reduce risks to users and their data. T hese protections often

                                   include requirements for developers to declare which permissions their apps use and
                                   how developers plan to use app data. Conversely, standalone app distribution sources
                                   like web browsers, messaging apps or file managers - which we commonly refer to as

                                   lnt ernet-sideloading - do not offer the same rigorous requirements and operational
                                   reviews. Our data demonstrates that users who download from these sources today
                                   face unusually high security risks due to these missing protections.


                                   We recently launched enhanced Google Play Protect real-time scanning to help better
                                   protect users aga inst novel malicious lnternet·sideloaded apps. T his enhancement is

                                   designed to address malicious apps that leverage various methods, such as Al, to avoid
                                   detection. This feature, now deployed on Android devices with Google Play Services in
                                   India, Thailand, Singapore and Brazil, has already made a significant impact on user
                                   safety.

                                   As a result of the real-time scanning enhancement, Play Prot ect has identified 515,000
                                   new malicious apps and issued more than 3.1 million warnings or blocks of those a pps.

                                   Play Protect is constantly improving its detection capabilities with each identified app,
                                   allowing us to strengthen our protections for the entire Android ecosystem.

                                   A new pilot to combat fi nancial fraud


                                   Cybercriminals continue to invest in advanced fi nancial fraud scams, costing
                                   consumers more than $1 trillion in losses. According to the 2023 Global State of Scams
                                   Report by the Global Anti-Scam Alliance, 78 percent of mobile users surveyed
                                   experienced at least one scam in t he last year. Of those surveyed, 45 percent said
Case      3:21-md-02981-JD Document 958-6 Filed 05/02/24 Page 3 of 5
 they're experiencing more scams in the last 12 months. The Global Scam Report also
 found that scams were most often initiated by sendi ng scam links via various
 messaging plat forms to get users to Install malicious apps and very often paired with a

 phone call posing to be from a valid entity.




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 Scammers frequently employ social engineering tactics to deceive mobile users. Using
 urgent pretenses that often involve a nsk to a user's finances or an opportunity for quick

 wealth, cybercrlmlnals convince users to di sable security safeguards and Ignore
 proactive warnings for potential malware, scams, and phishing. Weve seen a large
 percentage of users ignore, or are tricked into dismissing, these proactive Android
 platform warnings and proceed with installing malicious apps. This can lead to users

 ultima tely disclosing their security codes. passwords, financial information and/or
 transferring funds unknowingly to a fraudster.

 To help better protect Android users from these financial fraud attacks, we are pi loting
 enhanced fraud protection with Google Play Protect. As part of a continued strategic
 part nership with t he Cyber Security Agency of Singapore (CSA). we will launch this first
 pilot in Singapore in the coming weeks to help keep Android users safe from mobile

 financial fraud.


 This enhanced fraud protection will analyze and automatically block the installation of
 apps that may use sensitive permissions frequently abused for financial fraud when the
 user attempts to inst all the app from an lnternet•sideloading source (web browsers.
 messaging apps or file managers). This enhancement will inspect the permissions the
 app declared in real-time and specifically look for four permission requests:

 RECEIVE_SMS, REAO_SMS, BINO_Notifications, and Accessibility. T hese permissions
 are frequently abused by fraudsters to intercept one-time passwords via SMS or
 notifrcations, as well as spy on screen cont ent. Based on our analysis of major fraud

 malware families that exploit these sensitive permissions, we found that over 95
 percent of installations came from lnternet-sldeloadlng sources.

 Duri ng the upcoming pilot, when a user In Singapore attempts to Install an application

 from an lnternet-sideloadrng source and any of these four permissions are declared.
 Play Protect will automatically block the installation with an explanation to the user.




 Collaborating to combat mobile fraud
Case 3:21-md-02981-JD Document 958-6 Filed 05/02/24 Page 4 of 5
 and will be rolling out lo Android devices with Google Play services.

 "The fight against online scams is a dynamic one. As cybercriminals refine their
 methods. we must collaborate and innovate to stay ahead,• said Mr Chua Kuan Seah,
 Deputy Chief Executive of CSA. "Through such partnerships with technology players like
 Google, we are constantly improving our anti-scam defenses to protect Singaporeans
 onllne and safeguard their digital assets."

 Together with CSA. we will be closely monitoring the results of the pilot program to
 assess its impact and make adjustments as needed. We will also support CSA by
 continuing to assist with malware detection and analysis, sharing malware Insights and
 techniques, and creating user and developer education resources.

 How developers can prepare

 For developers distributing apps that may be affected by th is pilot. please take the time
 to review the device permissions your app is requesting and ensure you're following
 developer best practices. Your app should only request permissions that the app needs
 to complete an action and ensure it does not violate the Mobile Unwanted Software
 principles. Always ensure that your app does not engage in behavior that could be
 considered potentially harmful or malware.

 If you find that your app is affected by the app protection pilot you can refer to our
 updated developer guidance for Play Protect warnings for tips on how to help fix
 potential issues with your app and instructions for filing an appeal if needed.

 Check out the video below to learn more.




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                   Watch on DVoulube




 Our commitment to protecting Android users

 We believe industry collaboration is essential to protect users from mobile security
 threats and fraud. PIioting these new protections will help us stay ahead of new anacks
 and evolve our solutions to defeat scammers and their expanding fraud attempt. We
 have an unwavering commitment to protecting our users around the world and look
 forward to continuing to partner with governments, ecosystem partners and other
 stakeholders to improve user protections.




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 No comments :

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Case 3:21-md-02981-JD Document 958-6 Filed 05/02/24 Page 5 of 5
